                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        STATESVILLE DIVISION
                            5:01CV83-2-V
                          (5:98CR164-11-V)


DANETTE L. MAYFIELD,          )
     Petitioner,              )
                              )
          v.                  )               O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before this Court upon petitioner’s Motion

to Vacate, Set Aside, or Correct under 28 U.S.C. §2255, filed May

15, 2001; on the “United States’ Response To Petition And Motion

To Dismiss,” filed August 1, 2001; and on the petitioner’s

“Motion For Summary Judgment,“ filed November 9, 2001.             For the

reasons stated herein, the government’s Motion for Dismissal,

construed as a motion for summary judgment, will be granted; the

petitioner’s Motion for Summary Judgment will be denied; and the

petitioner’s Motion to Vacate will be denied and dismissed.

               I.   FACTUAL AND PROCEDURAL BACKGROUND

     Pertinent to this Motion, the record reflects that on July

6, 1998, a Bill of Indictment was filed, charging the petitioner

(and 12 others) with conspiracy to possess with intent to dis-

tribute quantities of cocaine and cocaine base, in violation of

21 U.S.C. §§841(a)(1) and 846 (Count One); and charging her with




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conspiracy to commit money laundering, in violation of 18 U.S.C.

§1956(h), et sec. (Count Two).      Also on that date, the government

filed an Information pursuant to 21 U.S.C. §841(b), asserting

that the amount of cocaine with which the conspiracy dealt was in

excess of five kilograms, and the amount of cocaine base with

which that group dealt was in excess of 50 grams.            After making

an initial appearance before the Court and entering “not guilty”

pleas, the petitioner’s case was placed on the Court’s trial

calendar.

     However, on September 11, 1998, the petitioner appeared

before the Court and tendered “straight up” guilty pleas to the

subject offenses.    On that occasion, this Court conducted its

standard Plea & Rule 11 Hearing.        During that proceeding, the

Court engaged the petitioner in a lengthy colloquy to ensure that

her guilty pleas were being intelligently and voluntarily

tendered.

     In response to the Court’s numerous questions, the peti-

tioner swore that she had reviewed the Indictment, and had taken

enough time to discuss her case and possible defenses with her

attorney; that she understood the charges and penalties which she

was facing, particularly as they were explained both in Court and

by her counsel; and that she understood that she could plead “not

guilty” and proceed to trial on those matters.

     Equally critically, the petitioner advised the Court that no

one had threatened or coerced her, or otherwise promised her any-

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thing in order to induce her guilty pleas; that she was tendering

her pleas because she, in fact, was guilty of the subject offen-

ses; and that she was satisfied with the services of her

attorney.    Thus, after hearing the petitioner’s answers to each

of its questions, the Court conditionally accepted the pleas.

     Next, on June 30, 1999, the Court conducted a Factual Basis

& Sentencing Hearing in that matter.        At the outset of that pro-

ceeding, the petitioner reiterated her earlier representations,

namely, that she understood the charges and corresponding penal-

ties; that her pleas had been voluntarily and intelligently

tendered; that she believed she had been adequately advised by

her attorney; and that she actually had committed the subject

offenses.    The petitioner, through counsel, also stipulated to

the existence of factual bases to support her pleas and convic-

tions.   Consequently, the Court unconditionally accepted the

petitioner’s guilty pleas.

     Thereafter, the Court heard remarks from counsel for both

parties.    The petitioner also addressed the Court, apologizing

for her involvement in the offenses and noting that she could not

blame anyone else for her irresponsible decision to commit the

subject crimes.    The petitioner then asked the Court for a

lenient sentence.    Counsel for the government next advised the

Court that, despite the petitioner’s attempt to minimize her

involvement during her conversations with agents, the government

had no objection to the imposition of sentences at the low end of

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the applicable sentencing ranges.

     Next, the Court accepted the Pre-Sentence Report’s finding

that the petitioner was subject to a two-level enhancement under

U.S. Sentencing Guidelines §3B1.1(c) for her managerial role in

the subject offenses.        Further, the Court accepted the findings

that the petitioner’s Total Offense Level was 37, her Criminal

History Category was IV, and her corresponding range of exposure

was 292 to 365 months imprisonment.           Consequently, at the con-

clusion of the Hearing, the Court sentenced the petitioner to a

term of 292 months imprisonment on Count One, and to a concurrent

term of 240 months imprisonment on Count Two.              The petitioner

timely appealed her case to the Fourth Circuit Court of Appeals.

     On appeal, the petitioner argued that this Court had erred

in imposing the two-level managerial enhancement.                See United

States v. Mayfield, No. 99-4502, slip op. at 2 (4th Cir. April

24, 2000).   However, the Court of Appeals reviewed that claim and

concluded that this Court had not plainly erred in the imposition

of that enhancement.    Id.      Accordingly, the petitioner’s convic-

ions and sentences were affirmed.         Id.

     Thereafter, on May 15, 2001, the petitioner, through coun-

sel, returned to this Court with the instant Motion to Vacate.

By this Motion, habeas counsel set forth some 17 claims, which

matters can be categorized as: (1)claims that trial and appellate

counsel were ineffective in several respects; (2) claims that the

petitioner’s sentence is erroneous; and (3) claims that the Court

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violated the petitioner’s due process rights in three respects.1

     On August 1, 2001, the “United States’ Response To Petition

And Motion To Dismiss” was filed.         By that document, the govern-

ment contends that all of the petitioner’s claims are subject to

summary dismissal either for lack of merit, her procedural

default of them, or because they are foreclose by relevant legal


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        In particular, habeas counsel contend that: (1) the petitioner’s
sentence for the drug charge exceeds the statutory maximum which could have
been imposed due to the Indictment’s failure to list, and the Court’s failure
to find, the quantity and type beyond a reasonable doubt; (2) her drug sen-
tence is illegal because it exceeds the statutory maximum term set forth by
Congress; (3) counsel was ineffective at sentencing for failing to object to
the drug type and quantity upon which the petitioner’s sentence was calcu-
lated; (4) counsel was ineffective on appeal for failing to challenge the
Indictment’s omission of drug type and quantity; (5) the petitioner was
illegally sentenced due to the Court’s failure to determine the scope of her
criminal activity for each offense, and its failure to make findings
concerning the scope of her involvement and the matters which were reasonably
foreseeable to her; (6) counsel was ineffective at sentencing for failing to
challenge the attribution of 1.5 kilograms or more of crack to the petitioner,
and for failing to seek particularized findings from the Court concerning the
drug type and quantity with which she dealt, the scope of her agreement, and
the amount of funds which were reasonably foreseeable to her; (7) counsel was
ineffective on appeal for failing to argue the illegality of the petitioner’s
sentences due to this Court’s alleged failure to determine the scope of the
criminal activity which the petitioner agreed to jointly undertake, or the
scope of her agreement concerning the acts of her co-conspirators; (8) counsel
was ineffective at sentencing for failing to challenge the two-level
managerial enhancement; (9) counsel was ineffective on appeal for failing to
file a reply brief in opposition to the government’s response concerning the
two-level enhancement, and for failing to seek a rehearing concerning the
appellate Court’s decision; (10) counsel was ineffective at sentencing for
failing to fully investigate the petitioner’s prior convictions so that
counsel could have sought a downward departure under U.S.S.G. §5K2.0; (11) the
petitioner’s money laundering conviction violates her due process rights due
to the Court’s alleged failure to ensure the existence of a factual basis for
that plea; (12) counsel was ineffective for failing to provide the petitioner
competent advice concerning the money laundering guilty plea; (13) counsel was
ineffective on appeal for failing to challenge the Court’s alleged failure to
establish a factual basis for the money laundering conviction and to apprize
the petitioner of the elements of that offense; (14) the petitioner’s guilty
pleas violate her due process rights because they were not intelligently made;
(15) counsel was ineffective for failing to provide the petitioner competent
advice concerning her guilty plea to the drug charge; (16) her guilty plea on
the drug charge is invalid because it was not intelligently made pursuant to
competent advice from counsel; and (17) appellate counsel was ineffective for
having failed to raise trial counsel’s ineffectiveness on direct appeal.

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precedent.

     Next, on November 9, 2001, “Petitioner Mayfield’s Motion For

Summary Judgment” was filed.      By that document, the petitioner

ultimately asserts that the facts clearly support a finding that

counsel was ineffective for failing to object and correct certain

errors in her Pre-sentence Report.      As a result, the petitioner

contends that she was erroneously sentenced on the basis of

incorrect information relating to her criminal history, drug

quantity, role in the offenses, and on the basis of counsel’s

failure to seek a downward departure for her.          Consequently, the

petitioner asserts that she is entitled to summary judgment.

     On February 5, 2002, the “United States’ Response To Peti-

tioner’s Cross-Motion For Summary Judgment” was filed.             There,

the government first responds to the petitioner’s modified

argument that trial counsel was ineffective for not challenging

the assessment of four criminal history points for two “minor

offenses” which the petitioner reportedly had committed before

her eighteenth birthday.     However, the Court has determined that

this modified claim was not raised before July 23, 2001, that is,

before the expiration of the petitioner’s 1-year limitations

deadline imposed under the AEDPA.

     Furthermore, such claim is materially different from the

next closely related claim–-that trial counsel was ineffective

for having failed to seek a down-ward departure on the grounds

that the petitioner’s criminal history score over-represented the

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seriousness of her actual criminal history; therefore, the

modified claim cannot be said to relate back to this original

claim.   See United States v. Pittman, 209 F.3d 314, 317 (4th Cir.

2000).   In that case, the petitioner’s modified claim will not be

addressed by the Court because it is time-barred.

     The government also points to the petitioner’s failure to

demonstrate or even assert that but for trial counsel’s alleged

errors, she would have insisted on going to trial as a basis for

denying her claims against trial counsel.         Moreover, regarding

the petitioner’s Apprendi-based claims that counsel was somehow

ineffective for having failed to challenge her sentences, the

government contends that she cannot possibly show prejudice since

counsel acted consistently with the law which then existed.

     In addition, the government’s Response asserts that the

petitioner’s admitted involvement in the instant conspiracy--

which included her rising through the ranks over several years

and increasing her participation from that of a distributor to a

“point person” who ran and oversaw operations from her home--is

more than adequate to support the Court’s findings concerning the

drug amount.   Thus, the government argues that counsel’s stra-

tegic decision not to challenge any findings concerning those

matters was not ineffective.

     Similarly, the government asserts that the petitioner’s ad-

missions regarding her roles as courier, order taker, and opera-

tor of a home-based distribution network was adequate to support

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the role enhancement which the Court applied.          Moreover, the

Fourth Circuit found that such enhancement was appropriate;

therefore, the government maintains that appellate counsel could

not have been ineffective for not challenging the enhancement.

Last, the government argued that in light of the evidentiary sup-

port for the Court’s findings, trial counsel could not possibly

have been ineffective for not seeking a downward departure under

U.S. Sentencing Guidelines §5K2.0.

     On March 18, 2002, “Petitioner Mayfield’s Reply Brief In

Support Of Petitioner’s Cross-Motion For Summary Judgment” was

filed.   By that Brief, counsel for the petitioner took issue

with, inter alia, the government’s assertions that the evidence

amply supported the attribution of 1.5 kilograms of crack to the

petitioner; that the Fourth Circuit’s conclusion that the Court

did not plainly err in applying the role enhancement’s precludes

this Court’s review of that question; and that counsel’s failure

to seek a departure was not prejudicial.

     Now, after having carefully considered all of the foregoing

arguments, along with the relevant legal precedent, the Court

concludes that the petitioner is not entitled to any relief on

her claims.

                             II.   ANALYSIS

           A.   The petitioner’s claims of an excessive
                sentence are meritless.

     By their first, second and fourth claims, habeas counsel

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argue that the petitioner’s sentence on the drug charge exceeds

the statutory maximum term for that offense due to the Indict-

ment’s failure to set forth the drug quantity, and to this

Court’s failure to find the type and quantity beyond a reasonable

doubt as required by statute; and that the petitioner’s trial

attorney was ineffective for having failed to raise those matters

on direct appeal.

     At their core, these allegations seek to invoke the rule

announced in Apprendi v. New Jersey, 530 U.S. 466 (2000).              There,

the U.S. Supreme Court held that any factor, other than a prior

conviction, which increases the statutory maximum term must be

alleged in the indictment and proven beyond a reasonable doubt

(or, obviously, admitted by the defendant).          However, Apprendi

was not the law of the land at the time that the petitioner was

charged, convicted or sentenced.2         On the contrary, prior to

Apprendi, drug type and quantity were considered sentencing

factors which the government was only required to prove by a

preponderance of the evidence.        See, e.g., United States v. Dor-



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       Initially, habeas counsel did not identify any legal precedent for this
argument; however, the government understood such claim to be based upon
Apprendi. Thus, after the government’s response noted that Apprendi could not
be retroactively applied in this case, habeas counsel replied that the claim
is based upon Apprendi and Jones v. United States, 526 U.S. 227 (1999)-–a case
which was decided about three months before the petitioner was sentenced.
However, Jones involved construction of carjacking statutes; thus, there was
nothing about that decision which suggested either that its reasoning could be
applied in the instant case, or that the Apprendi decision was coming.
Therefore, the undersigned finds that habeas counsels’ belated reliance upon
Jones still does not raise a viable claim of error based upon this Court’s
calculation of the petitioner’s sentence.

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louis, 107 F.3d 248, 252 (4th Cir. 1997).       Consequently, by these

allegations, the petitioner is seeking to have this Court retro-

actively apply the holding from Apprendi in this collateral

proceeding.

     Notwithstanding counsels’ suggestions to the contrary, the

United States Supreme Court has never ruled that Apprendi or any

of its progeny should be retroactive applied in collateral

proceedings such as these.     Rather, in Teague v. Lane, 489 U.S.

288 (1989), that high Court noted that there is a presumption

against the retroactivity of new rules of criminal procedure.

     Moreover, the Fourth Circuit has held that Apprendi cannot

be retroactively applied to cases on collateral review.            United

States v. Sanders, 247 F.3d 139 (4th Cir.), cert. denied, 534

U.S.1032 (2001).   That is, the Sanders Court reiterated the

Supreme Court’s assertion that only those rare new rules which

“‘alter our understanding of the bedrock elements essential to

the fairness of a proceeding’” are to be given retroactive appli-

cation on collateral review.     Id. at 146.     See also United States

v. Fowler, No. 05-6493, slip op. at 1 (W.Va. June 17, 2005)

(noting that “neither Booker nor Blakely announce a new rule of

constitutional law made retroactive by the Supreme Court to cases

on collateral review.”).

     Thus, since the rule announced in Apprendi does not rise to

the level of a “watershed rule of criminal procedure that

requires retroactive application,” the petitioner cannot prevail

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under Apprendi on these claims.      Id. at 146-51.

          B.   The petitioner’s claims of due process vio-
               lations also are entirely baseless.

     Regarding the petitioner’s due process rights, habeas

counsel assert that such rights were violated by the Court’s

failure to ensure the existence of a factual basis for the

petitioner’s money laundering conviction (claim 11); that due

process was violated when the Court accepted the petitioner’s

guilty pleas without informing her of the elements of the offen-

ses and the maximum penalties which she was facing (claim 14);

and that due process was violated when the Court accepted the

petitioner’s guilty plea on the drug charge without first estab-

lishing a factual basis for the scope of her conspiratorial

agreement with her co-defendants so as to determine which acts

were reasonably foreseeable to the petitioner (claim 16).             Un-

fortunately for the petitioner, however, these claims ignore the

law regarding procedural default, and the significance of both

the Pre-Sentence Report and the petitioner’s sworn statements

which she made during her guilty plea Hearing.

     As has been noted, on appeal the petitioner alleged only

that this Court had erred in subjecting her to a two-level role

enhancement.   Now, however, the petitioner is seeking to attack

her convictions and sentences on the basis of matters which

either occurred or, according to her, should have occurred during

her trial proceedings.


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     In United States v. Mikalajunas, 186 F.3d 490, 492-93 (4th

Cir. 1999), cert. denied, 120 S.Ct. 1283 (2000), the Fourth Cir-

cuit pointed out that “[i]n order to collaterally attack a

conviction or sentence based upon errors that could have been but

were not pursued on direct appeal, the movant must show cause and

actual prejudice resulting from the errors of which he com-

plains[,] or he must demonstrate that a miscarriage of justice

would result from the refusal of the court to entertain the

collateral attack.”    Id., citing United States v. Frady, 456 U.S.

152 (1982); see also Bousley v. United States, 523 U.S. 614, 621

(1998) (failure to challenge a matter on direct appeal, absent

certain compelling circumstances, bars collateral review of

same); and Stone v. Powell, 428 U.S. 465, 477 n.10 (1976).

     In the instant case, other than her baseless assertions of

ineffective assistance of counsel, the petitioner has not even

attempted to establish cause and prejudice for her failure to

raise these claims on direct appeal.       In any case, after review-

ing the record, the undersigned finds that even if counsel’s

decision not to raise such matters on appeal could be deemed

“cause” for excusing that default, the petitioner cannot

establish any prejudice on this record.

     Indeed, during her Plea Hearing, the petitioner advised the

Court, under oath, that she had discussed the charges with her

attorney; that she fully understood those charges and the maximum

penalties she was facing; that she had spoken with her attorney

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regarding the Guidelines and how they might be applied in her

case; and that she and counsel also had discussed any possible

defenses she might have had.     Notably, in addition to the fore-

going, the petitioner swore that she was pleading guilty to the

subject charges because she, in fact, is guilty of all of those

matters.

     In addition, the prosecutor summarized the charges for the

petitioner, and the petitioner told the Court that she understood

them.   Furthermore, the petitioner affirmed these representations

at the outset of her Sentencing Hearing.

     Therefore, in light of the foregoing record evidence, appel-

late counsel could not possibly have prejudiced the petitioner by

foregoing appellate review of these claims.         In the absence of

prejudice, then, the petitioner cannot obtain any review or

relief on these defaulted claims.

           C.   The petitioner’s claims of ineffective
                assistance of counsel also must be rejected.

     With respect to allegations of ineffective assistance of

counsel, a petitioner must show that counsel's performance was

constitutionally deficient to the extent it fell below an objec-

tive standard of reasonableness, and that he was prejudiced

thereby.   Strickland v. Washington, 466 U.S. 668, 687-91 (1984).

In making this determination, there is a strong presumption that

counsel's conduct was within the wide range of reasonable profes-

sional assistance. Id. at 689; see also Fields v. Attorney Gen’l.


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of Md., 956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474 U.S.

865 (1985); Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th

Cir. 1983), cert. denied, 464 U.S. 1065 (1984); and Marzullo v.

Maryland, 561 F.2d 540 (4th Cir. 1977), cert. denied, 435 U.S.

1011 (1978).

     To demonstrate prejudice, the petitioner must show a proba-

bility that the alleged errors worked to his "actual and

substantial disadvantage, infecting his trial with error of con-

stitutional dimensions."     Murray v. Carrier, 477 U.S. 478, 494

(1986), citing United States v. Frady, 456 U.S. 152, 170 (1982).

Under these circumstances, then, the petitioner “bears the burden

of proving Strickland prejudice.”        Fields, 956 F.2d at 1297,

citing Hutchins, 724 F.2d at 1430-31.        Therefore, if the peti-

tioner fails to meet this burden, a “reviewing court need not

consider the performance prong.”        Fields, 956 F.2d at 1290,

citing Strickland, 466 U.S. at 697.

     More critically, a petitioner who alleges ineffective assi-

stance of counsel following the entry of a guilty plea has an

even higher burden to meet.     See Hill v. Lockhart, 474 U.S. at

53-59; Fields, 956 F.2d at 1294-99; and Hooper v. Garraghty, 845

F.2d 471, 475 (4th Cir.), cert. denied, 488 U.S. 843 (1988).                The

Fourth Circuit described the petitioner’s additional burden in a

post-guilty plea claim of ineffective assistance of counsel as

follows:

           When a [petitioner] challenges a conviction

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               entered after a guilty plea, [the] “prejudice
               prong of the [Strickland] test is slightly
               modified. Such a defendant must show that
               there is a reasonable probability that, but
               for counsel’s errors, he would not have
               pleaded guilty and would have insisted on
               going to trial.”


Hooper, 845 F.2d at 475 (emphasis added); accord Hill v. Lock-

hart, 474 U.S. at 59; and Fields, 956 F.2d at 1297.

               1.   Allegations against trial counsel.

     Here, habeas counsel allege that trial counsel was inef-

ective when: counsel failed to object to the drug quantity and

type which was used to calculate the petitioner’s sentence; and

failed to challenge the Court’s failure to request particularized

findings to support its calculations (claims three, five and

six).       However, the evidence in this case showed that the

petitioner was a supervisory-level drug conspirator who oversaw

the distribution of large quantities of powder and crack cocaine

for an operation which spanned a three-year period.3             The peti-

tioner never reported having held a job from lawful employment



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       Habeas counsel complain that the government cannot rely upon the
petitioner’s self-incriminating statements in order to support her sentence
because such information was obtained pursuant to a Non-Attribution Agree-
ment, which she entered in hopes of receiving a sentence reduction under
5K1.1. However, the Court finds that much of the information upon which the
government relies was divulged by the petitioner in her unsolicited corres-
pondence to the government. Such correspondence was sent to the government
after the petitioner’s proceedings had been concluded and, notably, after the
government had advised the petitioner that it was not interested in her co-
operation because she had been untruthful during its earlier attempts to
debrief her. Accordingly, the Court finds that even in the absence of the
information which the petitioner provided pursuant to her Non-Attribution
Agreement, the record amply supports her drug sentence.

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during the period in question.      Rather, the evidence tended to

suggest that the petitioner and her boyfriend used some of the

proceeds from her unlawful activities to support her life.

     To be sure, during the period in question, the petitioner

was the girlfriend of one of the two leaders of the subject drug

conspiracy.   Due to her connection with that leader, the peti-

tioner was able to oversee a home and street-based distribution

network.   The petitioner personally had responsibility for large

quantities of crack cocaine, including the 9 ounces which she had

on her person at the time of her arrest, along with the other

drugs and weapons which were discovered at her residence.

     Similarly, the government has submitted copies of corres-

pondence from the petitioner, including a letter dated June 10,

2000, wherein she admits her substantial involvement with the

conspiracy and the scope of her trafficking activities.            By her

own account of these matters, the petitioner began dealing drugs

with two of her co-defendants (her brother and James Linney) as

long ago as 1993; and her bi-weekly shipments consisted of 4 to

13-ounce packages which she cooked into crack in her home.

     Consequently, despite the petitioner’s belated attempts to

down-play the extent of her criminal activities, the evidence

forecloses the possibility that she can demonstrate either error

or prejudice by counsel’s performance in these regards.            See

United States v. Stewart, 256 F.3d 231, 249 (4th Cir.), cert.

denied, 534 U.S. 1049 (2001) (evidence that a defendant was

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engaged in drug trafficking and had illegitimate income which was

used in another transaction is sufficient to establish money

laundering under the relevant statutes.).

     Habeas counsel also claim that trial counsel was ineffective

for failing to challenge the managerial enhancement (claim

eight).   However, the Fourth Circuit affirmed this Court’s

imposition of that enhancement based upon its findings that the

petitioner was a “point person” for her organization “who took

and filled orders for cocaine from several other co-conspirators,

including her brother, who would then deliver the drugs to third

parties.”   Mayfield, No. 99-4502, slip op. at 2.           Other than her

bare assertions of a lesser involvement, the petitioner has not

hinted at any evidentiary support for her objection to this

enhancement.   Therefore, the petitioner has failed to demonstrate

deficient performance or prejudice on this claim.

     Habeas counsel claim that trial counsel was ineffective for

failing to investigate the circumstances of the petitioner’s

prior convictions so that counsel could have pursued a downward

departure under U.S. Sentencing Guidelines §5K2.0 (claim ten).

In particular, habeas counsel argue that two of the petitioner’s

prior convictions--for which she was assessed four points--were

for minor larceny offenses which caused her criminal history

score to significantly over-represent the seriousness of her

criminal history.

     Although a departure on the grounds that a defendant’s

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criminal history category overstates the seriousness of his

actual criminal history is well-recognized in the law, such

departures are reserved for the “atypical” or “truly unusual”

case.   Here, the petitioner’s criminal history reflects that she

began her downward spiral into criminal behavior at age 17, when

she committed, on separate occasions, the offenses of larceny and

theft by unlawful concealment.      Thereafter, the petitioner

apparently plunged downward to stealing from the government, as

evidenced by her welfare fraud conviction.         Ultimately, the

petitioner fell to the level of selling drugs and supervising

other criminals as reflected in the instant offenses.

     Simultaneous with the foregoing activities, the petitioner

also picked up additional convictions for her repeated refusal to

obey various driving-related laws, and she picked up additional

charges for offenses such as simple assault, larceny and other

driving-related offenses.     Although no criminal history points

were assessed for the additional convictions, the existence of

those matters on the petitioner’s record renders this case less

than “atypical,” thereby making it highly unlikely that this

Court would have granted a downward departure under §5K2.0 had

one been sought.   Once again, therefore, the petitioner cannot

demonstrate any prejudice in connection with this claim.

     Last with regard to trial counsel, habeas counsel also claim

ineffectiveness for an alleged failure to provide the petitioner

with competent advice concerning the two offenses, and to inves-

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tigate the facts surrounding those charges (claims 12 and 15).

However, such conclusory assertions fly in the face of the record

evidence and the petitioner’s own sworn representations concern-

ing those matters.

     That is, despite these allegations, habeas counsel do not

even bother to identify what additional matters they believe the

petitioner should have been told.       Nor do habeas counsel hint at

the possibility that the petitioner would have pled not guilty

and proceeded to trial had she been given any additional infor-

mation from trial counsel.     Furthermore, habeas counsel cannot

overcome the obstacle created by the petitioner’s sworn

representations that she is guilty of the subject offenses.

     Most critically, it is well settled that a valid guilty plea

“constitutes a waiver of all non-jurisdictional defects which

reportedly occurred prior to the entry of such plea.”            United

States v. Willis, 992 F.2d 489, 490 (4th Cir. 1993) (emphasis

added).   To put it simply, a defendant who pleads guilty may not

challenge non-jurisdictional errors, including deprivation of

constitutional rights that occurred prior to the entry of that

plea.   Tollett v. Henderson, 411 U.S. 258 (1973); Hall v.

McKenzie, 575 F.2d 481 (4th Cir. 1978).       Therefore, these claims

also must fail.

           2.   Claims against appellate counsel.

     Habeas counsel contend that appellate counsel also was



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ineffective in numerous regards.           For instance, habeas counsel

allege that appellate counsel was ineffective for having failed

to argue that the petitioner was illegally sentenced due to the

Court’s alleged failure to determine the scope of the peti-

tioner’s criminal activity, and for his failure to challenge the

Court’s alleged failure to establish a factual basis for the

money laundering plea, and its failure to apprise the petitioner

of the elements of that offense (claims seven and thirteen).

However, for the reasons previously stated in connection with its

analysis of the claims underlying these allegations against

counsel, the Court finds that such allegations are baseless.

       Specifically, after swearing that she was apprized of the

elements of the subject offenses, the petitioner admitted her

guilt and conceded the existence of factual bases to support her

convictions on those charges.        Moreover, the record sets forth

more than adequate evidence for the Court to have determined the

scope of the petitioner’s involvement with the subject offenses.

Therefore, these claims must be flatly rejected.

       Habeas counsel also contend that appellate counsel was

ineffective for having failed to rejoin the government’s response

to his challenge of the petitioner’s role enhancement, and for

having failed to seek rehearing en banc for that argument (claim

9).    However, in light of habeas counsels’ failure to demonstrate

that the subject enhancement, in fact, was erroneous, they cannot

show that the petitioner was prejudiced by appellate counsel’s

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conduct concerning that claim.

     Finally, habeas counsel claim that appellate counsel was

ineffective for failing to raise trial counsel’s alleged ineffec-

tiveness on direct appeal (claim seventeen).         However, inasmuch

as the Fourth Circuit consistently adheres to its policy not to

review claims against trial counsel on direct appeal unless the

alleged ineffectiveness is apparent on the record--and no such

ineffectiveness has been revealed--the petitioner was not

prejudiced by appellate counsel’s decision on this matter.

                            III.   CONCLUSION

     The instant record reflects that the petitioner cannot

prevail on any of her claims for numerous reasons, including her

procedural default of some of them and her failure to demonstrate

an entitlement to relief as to others.       In any case, then, the

petitioner’s Motion for Summary Judgment must be denied; the

government’s de facto motion for summary judgment must be

granted; and the petitioner’s Motion to Vacate must be denied and

dismissed.

                               IV. ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED:

     1.   That the petitioner’s Motion for Summary Judgment is

DENIED;

     2.   That the government’s de facto motion for summary

judgment is GRANTED; and


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     3.   That the petitioner’s Motion to Vacate is DENIED and

DISMISSED.

     SO ORDERED.




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                   Signed: December 15, 2005




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